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 4

 5   Attorney for Ariana Diaz
 6

 7

 8                                       UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11    UNITED STATES OF AMERICA,                             Case No. 16-CR-134 KJM
12                          Plaintiff,                      STIPULATION AND [PROPOSED]
                                                            ORDER TO MODIFY CONDITIONS OF
13              v.                                          PRETRIAL RELEASE
14    ARIANA DIAZ,
15                          Defendant.
16

17             Defendant Ariana Diaz, by and through her counsel, Dustin D. Johnson, and Assistant

18   United States Attorney Amanda Beck hereby agree to a temporary extension of Ms. Diaz’s

19   curfew on August 23, 2018 to 10:00 pm.

20             Ms. Diaz will be getting married in the morning on August 23, 2018. She will have a

21   wedding dinner for family and friends that evening at a local restaurant from 8:00 pm to 10:00

22   pm. She will return home by 10:00pm. The details for the restaurant have been provided to the

23   pretrial services officer and the AUSA.

24             All of the other conditions of her pretrial release shall remain in effect.

25             Supervising Pretrial Services Officer Darryl Walker has no opposition.

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28   ///
       Case 2:16-cr-00134-DAD Document 349 Filed 08/24/18 Page 2 of 2


 1   Dated: August 23, 2018                    Respectfully submitted,
 2                                             /s/ Dustin D. Johnson
                                               Dustin D. Johnson
 3                                             Counsel for Ariana Diaz
 4   Dated: August 23, 2018                    McGregor W. Scot
                                               United States Attorney
 5
                                               /s/ Amanda Beck (approved via email)
 6                                             Amanda Beck
                                               Assistant U.S. Attorney
 7

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 9   SO ORDERED.
10   DATED: August 23, 2018.
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